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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
 JAMES HAUGEN AND CHRISTIAN                      )
 GOLDSTON                                        )   No. 18-cv-07297
                                                 )
                   Plaintiffs,                   )
                                                 )   Hon. Elaine E. Bucklo
                       v.                        )   U.S. District Court Judge, Presiding
                                                 )
 ROUNDY’S ILLINOIS, LLC D/B/A                    )   Hon. Sheila M. Finnegan
 MARIANO’S                                       )   U.S. Magistrate Judge
                                                 )
                  Defendant.                     )

                   STIPULATION OF DISMISSAL PURSUANT TO
                FEDERAL RULE OF CIVIL PROCEDURE 41(A)(1)(A)(II)

       Pursuant to the Parties’ agreement to settle this case and Federal Rule of Civil Procedure
41(a)(1)(A)(ii), the Parties stipulate to the dismissal of this case with prejudice immediately.

                                              Electronically Filed 03/24/22

                                              /s/ Samuel D. Engelson
                                              Samuel D. Engelson
                                              Attorney for Plaintiffs

                                              Billhorn Law Firm

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